                     Case 3:22-cv-00973-SI       Document  1-1 PM
                                                 6/21/2022 3:54 Filed 07/05/22        Page 1 of 8
                                                    22CV13795




 1

2

3                         IN THE CIRCUIT COURT OF THE STATE OF OREGON
4                                          FOR THE COUNTY OF UNION
5    MARIA D. PROUFLIS,
                                                               Case No. 22CV13795
6                       Plaintiff,
                                                               SUMMONS
 7              V.


 $   OREGON HEALTH AND SCIENCE
     UNVERSITY, an Oregon public
 9   corporation,

10                      Defendant.
11   To:        Alice Cupril-Comas, Authorized Representative for Oregon Health and
                Science University, 3181 SW Sam Jackson Road, Suite L585, Portland, OR
                97239
12
            YOU ARE HEREBY required to appear and defend the Complaint filed against you in the
13   above-entitled action within thirty (30) days from the date of service of this Summons upon you
     and in case of your failure to do so, for want thereof, Plaintiff will apply to the court for the relief
14   demanded in the Complaint.
             NOTICE TO THE DEFENDANT:
15         READ THESE PAPERS CAREFULLY!
      You must “appear” in this case or the other side will
16   win automatically. To “appear” you must file with the     SIGNATURE OF A’ITORNEY FOR PLAINTIFF
     court a legal document called a “motion” or “answer.”
     The “motion” or “answer” must be given to the court
17   clerk or administrator within 30 days along with the                                065971
                                                               Brent H. Smith
     required filing fee. It must be in proper form and        ATfORNEY’S NAME           BAR NO.
1$   have proof of service on the Plaintiffs attorney or, if
     the Plaintiff does not have an attorney, proof of
19   service on the Plaintiff. If yoti have questions, you     80$ Adams Avenue, P0 Box 967
     should see an attorney immediately. If you need help      ADDRESS
     in findin an attorney, you may contact the Oregon
20   State Bar s Lawyer Referral Service online at
     www.oregonstatebar.org or by calling (503) 684-           LaGrande,OR           97850    (541)963-3104
21   3763 (in the Portland metropolitan area) or toll-free     CITY   STATE            ZIP      PHONE
     elsewhere in Oregon at ($00) 452-7636.
22
      STATE Of OREGON                  )
                                           ss.
23    County of Union
24           I, the undersigned attorney of record for the Plaintiff, certify that the foregoing is an
      exact and complete copy of the original summons in the above-entitled action.
25

26
                                                        ATfORNEY Of RECORD FOR PLAINTIFF

                                                                                                           BAUM SMITH tIC
       1   —   SUMMONS [Case No. 22CV13795]                                                     $08 Adams Ave P0 Box 967
                                                                                                                -



                                                                                                   La Grande, Oregon 97850
                                                                                                      Phone: (541) 963-3104
                                                                                                          Fax: (541) 963-9254
                                                                                               Email: office@Thaumsmith.com
                 Case 3:22-cv-00973-SI    Document  1-1 PM
                                          4/25/2022 1:26 Filed 07/05/22        Page 2 of 8
                                             22CV13795




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2
3                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
4                                  FOR THE COUNTY OF UNION
5    MARIA D. PROUFLIS,                                            22CV13795
                                                        Case No.
6                    Plaintiff,
                                                        COMPLAINT
7           v.
                                                        (42 USC §2000e-5 - Employment
8    OREGON HEALTH AND SCIENCE                          Religious Discrimination, Wrongful
     UNVERSITY, an Oregon public                        Termination)
9    corporation,
                                                        Claim for Relief $411,957.60
10                   Defendant.
                                                        NOT SUBJECT TO MANDATORY
11                                                      ARBITRATION
12                                                      JURY TRIAL REQUESTED
13                                                      Fee Authority: ORS 21.160(1)(c)
14
            Plaintiff, Maria D. Prouflis, (hereinafter “Plaintiff”) alleges:
15
                                                   1.
16
            At all times material to this action, Plaintiff was a resident of Jackson, Ocean
17
     County, New Jersey.
18
                                                   2.
19
            Defendant Oregon Health & Science University (“OHSU”) is an Oregon public
20
     corporation. Defendant conducts regular, sustained business activity in Union County,
21
     Oregon. Defendant OHSU employs six or more persons in the State of Oregon. At all
22
     material times Defendant OHSU was Plaintiff’s employer.
23
                                                FACTS
24
                                                   3.
25
            On December 2, 2019 Plaintiff began working for Defendant as a medical coder.
26
     At all material times, Plaintiff performed her job duties satisfactorily.

                                                                                                   BAUM SMITH LLC
      1 – COMPLAINT                                                                    808 Adams Ave - PO Box 967
                                                                                          La Grande, Oregon 97850
                                                                                             Phone: (541) 963-3104
                                                                                                 Fax: (541) 963-9254
                                                                                      Email: office@baumsmith.com
             Case 3:22-cv-00973-SI     Document 1-1     Filed 07/05/22   Page 3 of 8




1
                                                4.
2
           For the entirety of Plaintiff’s employment with Defendant she lived and worked
3
     for OHSU remotely from her home in New Jersey. Plaintiff has never been to Oregon.
4
                                                5.
5
           In September 2021 Defendant mandated Plaintiff receive a Covid-19 vaccination
6
     as a condition of continued employment.
7
                                                6.
8
           Beginning on September 2, 2021 Plaintiff began putting Defendant on notice of
9
     her sincerely held religious beliefs which prevented her from receiving a Covid-19
10
     vaccination.
11
                                                7.
12
           Defendant required Plaintiff and other employees to complete “religious
13
     exception” forms which forms amounted to unlawful religious inquisition and
14
     discrimination.
15
                                                8.
16
           Before denying Plaintiffs’ request for accommodation or notifying Plaintiff her
17
     employment would be terminated Defendant publicly posted Plaintiff’s job as open and
18
     used her name in the posting.
19
                                                9.
20
           An unvaccinated Plaintiff did not pose a direct threat to workplace safety because
21
     Plaintiff worked remotely from her home in New Jersey and did not interact with other
22
     employees of Defendant or the public in connection with her work for Defendant.
23
                                               10.
24
           Defendant refused to accommodate Plaintiff and terminated her employment on
25
     December 2, 2021.
26
     ///

                                                                                              BAUM SMITH LLC
      2 – COMPLAINT                                                               808 Adams Ave - PO Box 967
                                                                                     La Grande, Oregon 97850
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                                                                                 Email: office@baumsmith.com
              Case 3:22-cv-00973-SI     Document 1-1      Filed 07/05/22   Page 4 of 8




1
                                                 11.
2
            Plaintiff filed a charge of discrimination with the Equal Employment Opportunity
3
     Commission (“EEOC”) on January 4, 2022. Plaintiff received notice of her right to sue
4
     from the United States Department of Justice on March 8, 2022.
5
                             PLAINTIFF’S FIRST CLAIM FOR RELIEF
6
                   (42 USC § 2000e-5 - Employment Religious Discrimination)
7
                                                 12.
8
            Plaintiff realleges paragraphs 1 through 11 and incorporates them herein.
9
                                                 13.
10
            Plaintiff has a sincerely held religious belief which prevents her from receiving a
11
     Covid-19 vaccination.
12
                                                 14.
13
            On September 2, 2021 Plaintiff put Defendant on notice of her sincerely held
14
     religious belief which prevented her from receiving a Covid-19 vaccination.
15
                                                 15.
16
            Defendant’s method of evaluating what it called “religious exceptions” to its
17
     Covid-19 vaccination policy is discriminatory as the forms were by design meant to
18
     convince employees, like Plaintiffs, that they did not have a sincerely held religious
19
     belief which prevented them from receiving a Covid-19 vaccination and to embarrass
20
     Plaintiff and other employees.
21
                                                 16.
22
            Defendant did not make a good-faith effort to reasonably accommodate Plaintiff’s
23
     religious beliefs and could have done so without incurring an undue hardship because
24
     Plaintiff worked remotely and did not pose a direct threat to the workplace by remaining
25
     unvaccinated against Covid-19.
26
     ///

                                                                                                 BAUM SMITH LLC
      3 – COMPLAINT                                                                  808 Adams Ave - PO Box 967
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              Case 3:22-cv-00973-SI       Document 1-1      Filed 07/05/22   Page 5 of 8




1
                                                   17.
2
            Defendant terminated Plaintiff’s employment on December 2, 2021 because she
3
     was not vaccinated.
4
                                                   18.
5
            Plaintiff requests the court award her $111,957.60 in front pay in lieu of
6
     reinstatement.
7
                                                   19.
8
            Plaintiff requests the court award her $300,000.00 in compensatory damages for
9
     future pecuniary losses, emotional pain and suffering, inconvenience, mental anguish
10
     and loss of enjoyment of life.
11
                                                   20.
12
            Plaintiff requests an award of her reasonable attorney fees and expert witness
13
     fees pursuant to 42 USC §2000e-5(k).
14
                            PLAINTIFF’S SECOND CLAIM FOR RELIEF
15
                                       (Wrongful Termination)
16
                                                   21.
17
            Plaintiff realleges paragraphs 1 through 20 and incorporates them herein.
18
                                                   22.
19
            Defendant terminated Plaintiff’s employment.
20
                                                   23.
21
            Plaintiff had a right to free of religious discrimination in her employment.
22
                                                   24.
23
            A substantial factor in the decision to discharge Plaintiff was her religious beliefs.
24
     Defendant failed to engage in a meaningful interactive process with Plaintiff regarding
25
     accommodating her religious beliefs. Defendant engaged in a “religious exception”
26
     process meant to belittle Plaintiff’s religious beliefs.

                                                                                                  BAUM SMITH LLC
      4 – COMPLAINT                                                                   808 Adams Ave - PO Box 967
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             Case 3:22-cv-00973-SI     Document 1-1     Filed 07/05/22    Page 6 of 8




1
                                                25.
2
           As a direct result of Defendant’s conduct, Plaintiff was terminated and has
3
     suffered economic damages in the form of lost wages and benefits, including back pay,
4
     front pay in lieu of reinstatement, and any other economic damages the court deems
5
     appropriate in an amount not greater than $111,957.60.
6
                                                26.
7
           As a direct result of Defendant’s conduct, Plaintiff suffered emotional distress
8
     and other nonpecuniary losses and is entitled to recover noneconomic damages in an
9
     ///
10
     ///
11
     ///
12
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                                                                                               BAUM SMITH LLC
      5 – COMPLAINT                                                                808 Adams Ave - PO Box 967
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                 Case 3:22-cv-00973-SI    Document 1-1     Filed 07/05/22    Page 7 of 8




1
                                                  27.
2
            To the extent that any amount awarded to Plaintiff is for damages occurring prior
3
     to the entry of judgment, Plaintiff is entitled to an award of pre-judgment interest at the
4
     legal rate from the date the damage occurred until the date of judgment.
5
            WHEREFORE, Plaintiff prays for a judgment against the Defendant for relief as
6
     follows:
7
            1.       Economic damages in the amount of $111,957.60;
8
            2.       Non-economic damages in the amount of $300,000.00;
9
            3.       Plaintiff’s attorney fees, expert costs, costs and disbursements incurred
10
                     herein; and
11
            4.       Such other relief that the court deems just and equitable.
12
            DATED this 25th day of April, 2022.
13
                                                BAUM SMITH, LLC
14                                              Attorney for Plaintiff
15
16                                              By_____________________________
                                                     Brent H. Smith
17                                                   OSB No. 065971
                                                     808 Adams Avenue
18                                                   PO Box 967
                                                     La Grande, OR 97850
19                                                   Telephone (541) 963-3104
                                                     Facsimile: (541) 963-9254
20                                                   e-mail: office@baumsmith.com
21
22
23
24
25
26



                                                                                                  BAUM SMITH LLC
      6 – COMPLAINT                                                                   808 Adams Ave - PO Box 967
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                Case 3:22-cv-00973-SI                 Document  1-1 PM
                                                      6/21/2022 3:54 Filed 07/05/22                Page 8 of 8
                                                         22CV13795
                         Multnomah County Sheriff's Office                                                   MICHAEL REESE
                         CIVIL PROCESS UNIT                                                                     SHERIFF
                         2955 NE 172nd Place - Portland, OR 97230                                           503 988-5300 PHONE
{it                                                                                                           503 9884500 TTY
      p}
                                                                                                                     www.mcso.us
                         Exemplary service for a safe, livable community

            ounty UNION
           Court Case: 220V13795
           MCSO Case #: 2022-350846                                       served
           Court: CIRCUIT

           RE: PROUFLINSMARIA              D

                                          VS.

                 OREGON HEALTH AND SCIENCE


           |
               hereby certify that the folIowing documents

                 COMPLAINT
                 SUMMONS


           was/were delivered Io me for service on the       11   day of May, 2022, and was/were

           duly certiﬁed to be true copy by PLAINTIFF.

           I   further certify that served the papers upon
                                 |




                 CUPRILL-COMAS,ALICE
           at the ofﬁce he/she maintains for the conduct of business at 3181       SW SAM JACKSON PARK RD        ,




           PORTLAND
           by leaving a true copy with      JULIE MEEK   the person who is apparently

           in   charge of the said ofﬁce. on the 7 day ofJune. 2022 during normal working hours.
           at to wit 10:37 AM


               MICHAEL REESE. SHERIFF
               Muitnomah County, Oregon




           BY
               MCGARRYD              J   DPSST#   3


           *Piease be advised if a substituted service is made the plaintiff shaII cause to be mailed, by ﬁrst class mail.
           true copies of the summons and the compIaint to the defendant at defendants dwelling house or usual place
           of abode, together with a statement of the date, time, and place at which substituted service was made and a
           certiﬁcate of service for this action shall be ﬁled with the court. Please contact an attorney if you have any
           additional questions.
